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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter l l
TSAWD HOLDINGS, INC., et al.,] Case No. 16-10527 (MFW)
Debtors. (Jointly Administered)

Ref. Docket No. 3918

 

 

ORDER APPROVING FOURTH
INTERIM FEE APPLICATION OF FREJKA PLLC

Upon consideration of the F outh Quarterly Appll`cation for Compensation and
Reimbursement of Expenses ofFrejka PLLC, as Counsel for the Fee Examiner, for the Perioa'
from April 1, 201 7 Through June 3 0, 2017 [Docket No. 3918] (the “ nterim Application”) for
allowance of compensation and reimbursement of expenses on an interim basis; and it appearing
to the Court that all of the requirements of §§ 327, 328, 330, 331 and 503(b) of title ll of the
United States Code, as Well as Rule 2016 of the Federal Rules of Bankruptcy Procedure and the
Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
District of Delaware, have been satisfied; and it further appearing that the compensation earned
and expenses incurred were reasonable and necessary; and that the notice of the Interim
Application Was appropriate; and after due deliberation and sufficient good cause appearing
therefor,

IT IS HEREBY ORDERED THAT:

l. The Interim Application is APPROVED in the amounts set forth on Exhibit A.

 

l The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSAWD
Holdings, lnc. (9008); Slap Shot Holdings, Corp. (8209); TSAWD, Inc. (2802); TSA Stores, Inc. (1120); TSA
Gift Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA Caribe, Inc. (5664). The headquarters for the above-
captioned Debtors is located at 2305 East Arapahoe Road, Suite 234, Centennial, CO 80122.

 

 

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2. Frejka PLLC is granted allowance of compensation in the amounts set forth on
Exhibit A.
3. Frejka PLLC is allowed the reimbursement of reasonable and necessary expenses

in the amounts set forth on Exhibit A.

4. The Debtors are authorized and directed to remit payment to Frejka PLLC in the
amounts set forth on Exhibit A, less all amounts previously paid on account of such fees and
expenses.

5. This Court shall retain jurisdiction with respect to all matters relating to the
interpretation or implementation of this Order.

Dated: Wilmington, Delaware

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MARY F. WA£RATH
UNITED sTATEs BANKRUPTCY JUDGE

 

  

 

